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          Case 1:19-cv-12172-DJC    1  Date
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                United States Court of Appeals
                                 For the First Circuit
                                     _____________________
 No. 20-1689
                                     DAMILARE SONOIKI,

                                        Plaintiff, Appellant,

                                                 v.

   HARVARD UNIVERSITY; HARVARD UNIVERSITY BOARD OF OVERSEERS; THE
            PRESIDENT AND FELLOWS OF HARVARD COLLEGE,

                                      Defendants, Appellees.
                                      __________________

                                           JUDGMENT

                                      Entered: June 14, 2022

         This cause came on to be heard on appeal from the United States District Court for the
 District of Massachusetts and was argued by counsel.

          Upon consideration whereof, it is now here ordered, adjudged and decreed as follows: The
 district court's judgment dismissing Damilare Sonoiki's complaint is reversed in part and affirmed
 in part, and the matter is remanded for further proceedings consistent with the opinion issued this
 day. Costs awarded to Appellant.


                                                      By the Court:

                                                      Maria R. Hamilton, Clerk



 cc: Hon. Denise Jefferson Casper, Robert Farrell, Clerk, United States District Court for the
 District of Massachusetts, Tara Jill Davis, Susan Stone, Kristina W. Supler, Victoria L. Steinberg,
 Apalla U. Chopra, Patrick D. McKegney, Anton Metlitsky, Tara D. Dunn
